     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 1 of 30 Page ID #:1




 1 David N. Lake, Esq., State Bar No. 180775
   LAW OFFICES OF DAVID N. LAKE
 2  A Professional Corporation
   16130 Ventura Boulevard, Suite 650
 3 Encino, California 91436
   Telephone: (818) 788-5100
 4 Facsimile: (818) 479-9990
   david@lakelawpc.com
 5

 6 Attorney for Plaintiff Fredrick Tan

 7 [Additional counsel on signature page]

 8
                   IN THE UNITED STATES DISTRICT COURT
 9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                          WESTERN DIVISION

11 FREDERICK TAN, individually and on

12 behalf of all others similarly situated,         Case No.:

13                      Plaintiff,                  CLASS ACTION COMPLAINT
14         v.

15 THE FOLGER COFFEE COMPANY, a                     JURY TRIAL DEMANDED
16 subsidiary of the J. M. SMUCKER
     COMPANY,
17

18                  Defendant.
     __________________________________
19

20

21

22

23

24

25

26

27

28
                                     CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 2 of 30 Page ID #:2




 1         Frederick Tan (“Plaintiff” or “Tan”), on behalf of himself and all others
 2 similarly situated (the “Class Members”), brings this consumer class action

 3 complaint against defendant The Folger Coffee Company (“Defendant” or

 4 “Folgers”), for unlawful, unfair, and deceptive business practices.        Plaintiff’s
 5 allegations are based on the investigation of counsel, and the findings of Plaintiff’s

 6 expert chemist, and are based on information and belief, except as to the

 7 allegations pertaining to Plaintiff individually, which are based on personal

 8 knowledge.

 9                            NATURE OF THE ACTION
10         1.    Folgers coffee is a household name with sales comprising a significant
11 portion of the $7.8 billion in net revenues reported by corporate parent, The J.M.

12 Smucker Company, during its last fiscal year. It is estimated that Folgers has

13 nationwide sales of approximately $1 billion. The coffee giant engages in false and

14 deceptive package labeling on its brewed coffee containers with respect to the

15 promised number of coffee servings             contained in the package. Folgers
16 misrepresents the number of servings its containers can provide in order to spur

17 sales, and disadvantage competitors who do not make similar claims. As a result,

18 consumers overpay, as they do not receive the number of coffee servings Folgers
19 represents to be present in the container, to the detriment of the consumer. These

20 types of consumer deceptions hit senior citizens and others on a limited budget

21 hardest as they are led to believe they are getting a bargain when they are not.

22 Short fill deception is meant to make comparison shopping difficult, if not

23 impossible. Moreover, honest vendors—who do not resort to similar tactics—find

24 themselves driven out of the market, or seriously disadvantaged.

25         2.    In a practice that offends reasonable consumer expectations,
26 Defendant affirmatively represents on the coffee can label the expected number of

27 cups of coffee that the container can produce when the coffee is brewed according

28                                            2
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 3 of 30 Page ID #:3




 1 to provided instructions, but this information is false because the can does not

 2 contain enough coffee to produce anywhere near the number of cups represented.

 3 Thus, the labeling on Folgers coffee product canisters (the “Folgers Coffee
                1
 4 Products”) prominently states that each canister will produce up to a certain

 5 number of six fluid ounce cups when, in fact, the coffee canisters at issue do not

 6 contain enough coffee to produce the volume of coffee cups represented if the

 7 given instructions are followed (the “Folgers Label Claims”). Plaintiff’s expert,

 8 based on an analysis of several Folgers varieties, has produced a chart that shows

 9 the true number of servings contained within each coffee canister. See infra, ¶ 25.

10 Other varieties are similarly misrepresented.

11         3.       Thus, the stated coffee cup yield information on the Folgers Coffee
12 Products is deceptive and untrue. Plaintiff and the Class Members overpaid for the

13 Folgers Coffee Products, as they did not receive (and could not receive) the

14 represented amounts of servings and did not receive the “benefit of the bargain”

15 when purchasing Folgers Coffee Products. For example, one of the canisters

16 similar to those Plaintiff purchased, Folgers Classic Decaf, was advertised on

17 Walmart.com on October 10, 2020 at $9.53 for 240 servings, which is roughly 4

18 cents per serving. But those who buy this product, which yields only about 181
19 suggested strength servings, are paying roughly 5.3 cents per serving. Adjusted, the

20 price should be only about $7.24, $2.29 or roughly 24% less. By overpaying in this

21 manner and failing to receive the benefit of the bargain, Plaintiff and the Class

22 Members suffered monetary injury.

23

24

25   1
     The “Folgers Coffee Products” include the Folgers Classic Roast and Classic Roast Decaf
26 purchased by Plaintiff, as well as the ½ Caff, CoffeeHouse Blend, Country Roast, Simply
   Smooth, Simply Smooth Decaf, 100% Colombian, Black Silk, Black Silk Decaf, Brazilian
27 Blend, Breakfast Blend, French Roast, Gourmet Supreme, House Blend and Special Roast.

28                                             3
                                    CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 4 of 30 Page ID #:4




 1                            JURISDICTION AND VENUE
 2         4.    This Court has subject matter jurisdiction pursuant to the Class Action
 3 Fairness Act, 28 U.S.C. § 1332(d) in that: (1) this is a class action involving more

 4 than 100 Class Members; (2) Plaintiff is a citizen of California; Defendant is a

 5 citizen of the State of Ohio; and (3) the amount in controversy exceeds the sum of

 6 $5,000,000.00, exclusive of interests and costs.

 7         5.    The Court has personal jurisdiction over Defendant because it
 8 conducts substantial business in California. Defendant has and continues to

 9 actively market, promote, and sell the Folgers Coffee Products in California

10 through numerous retailers and online channels, and Defendant has sufficient

11 minimum contacts with this State and/or has sufficiently availed itself of the

12 market in this State through its marketing, promotion and sales within this State,

13 including sales in the Albertson’s, Smart & Final, Vons and Ralph’s grocery

14 chains, to render the exercise of jurisdiction by this Court permissible.

15         6.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2)
16 because a substantial part of the events or omissions giving rise to Plaintiff’s

17 claims occurred while Plaintiff resided in this judicial district.

18                                        PARTIES
19         7.    Plaintiff Frederick Tan resides in Los Angeles County, California.
20 During at least the past four years, Plaintiff purchased two Folgers product

21 varieties: Folgers Classic Roast and Folgers Classic Decaf in local markets,

22 including Albertson’s, Smart & Final, Vons and Ralph’s, containing the

23 misrepresentations that are the subject of this suit. Plaintiff has used the coffee but

24 has retained canisters of each type that have not been completely consumed.

25 Plaintiff was injured in that he overpaid for the Folgers products purchased, in that

26 he did not receive the amount of coffee represented to be made on the label.

27 Indeed, Class Members continue to purchase these and similar products,

28                                             4
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 5 of 30 Page ID #:5




 1 reasonably but incorrectly believing that they contain enough coffee to make the

 2 advertised number of servings. The Folgers Label Claims made on the products

 3 Plaintiff purchased and on all other varieties of Folgers ground coffee would

 4 deceive an objectively reasonable consumer.

 5         8.    Defendant is a corporation organized and existing under the laws of
 6 the State of Ohio, with its headquarters and principal place of business at One

 7 Strawberry Lane, Orrville, OH 44667. Folgers is arguably the most well-known

 8 coffee maker/brand in the United States. The coffee giant excels in offering a wide

 9 range of products to customers, including varying flavors, roasts and strengths of

10 coffee. Since the early 1990s, it has been the largest-selling brand of ground coffee

11 in the United States. In the 1980s, Folgers’ slogan “The best part of waking up is

12 Folgers in your cup!” and the well-associated jingle became recognizable in

13 households across the country, along with the Folgers name. Folgers generates an

14 estimated $1 billion or more in sales each year, a significant portion of which is

15 derived from sales of the Folgers Coffee Products in California. In 2008, Folgers

16 was acquired by J.M. Smucker from Procter & Gamble for a reported $3 billion.

17                            FACTUAL ALLEGATIONS
18         9.    Defendant sells the Folgers Coffee Products to consumers based on
19 the representation on the front label that the container contains enough ground

20 coffee to make a specific number of servings. However, when following

21 Defendant’s own instructions, the Folgers Coffee Products do not contain enough

22 ground coffee to make the number of servings represented by Defendant, whether

23 by number of tablespoons or by weight. Defendant places a materially identical

24 representation on the front label of most, if not all, of the Folger Coffee Products,

25 although the number of represented servings varies based on the size of the

26 container.

27

28                                           5
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 6 of 30 Page ID #:6




 1                            FOLGERS CLASSIC ROAST
 2         10.   According to Plaintiff’s expert, Folgers is short-changing its
 3 customers by a significant amount (See infra, ¶ 22). In Plaintiff’s case, for

 4 example, a coffee canister he purchased, Folgers Classic Roast, prominently states

 5 on the front label that it “MAKES UP TO 240 6 FL OZ CUPS.” According to this

 6 canister, it contains 865 grams. Instructions on the back panel of the canister direct

 7 consumers to use the following measurements: “Cold Water: 1 Serving (6 fl. oz)”

 8 with “Folgers Coffee: 1 Tablespoon” which yields “1 Serving (6 fl. oz.)”. This

 9 would lead the reasonable consumer to believe that this recipe produces coffee of

10 “suggested strength,” and therefore the same consumer would then expect to be

11 able to produce 240 cups of equally strong coffee, obtained using the same recipe,

12 i.e. the canister should contain 240 tablespoons of ground coffee.

13         11.   However, if the back-panel instructions are followed, the canister only
14 produces approximately 170 six fluid-ounce-servings, 70 cups short of what

15 Folgers represents on its front panel.

16         12.   As an alternative, the back label states that to brew 10 servings, add
17 10 servings of cold water (6 oz. each) and ½ measuring cup of Folgers coffee.

18 However, ½ measuring cup is actually 8 tablespoons, a fact not commonly known
19 to the general public. This alternative brew method for a canister that holds 865

20 grams produces approximately 210 standard servings of diluted coffee, not the 240

21 cups prominently advertised on the front of the canister. Thus, even if one were to

22 assume that every pot of coffee made from the canister was based on a 10 servings

23 recipe, the amount of coffee in the Classic Roast still falls short of the

24 representation as to the number of cups which could be made from the canister,

25 and the cups that would be made would be weak and diluted.

26         13.   The same shortfall is evident in other Folgers Classic Roast canisters.
27 Indeed, another Folgers Classic Roast canister purports to produce up to 380 six

28                                            6
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 7 of 30 Page ID #:7




 1 fluid ounce cups, stating on the front label: “MAKES UP TO 380 6 FL OZ CUPS.”

 2 The canister contains 1360 grams of coffee. A consumer following the instructions

 3 on the label of the Folgers Classic Roast canister is directed to utilize one

 4 tablespoon of Folgers coffee to yield one six fluid ounce serving and would expect

 5 the canister to produce 380 cups of the “suggested strength” coffee. But the

 6 canister only produces approximately 267 six fluid ounce servings, 113 cups short

 7 of what Folgers represents the canister contains. Following the 10 serving recipe

 8 likewise produces far less than the 380 six fluid ounce cups – yielding just 334

 9 standard, but diluted, servings.

10                            FOLGERS CLASSIC DECAF
11         14.   The Folgers Classic Decaf canister purchased by Plaintiff prominently
12 states on the front label that it “MAKES UP TO 240 6 FL OZ CUPS.” According

13 to this canister, it contains 865 grams. Instructions on the back panel of the canister

14 direct consumers to use the following measurements: “Cold Water: 1 Serving (6 fl.

15 oz)” with “Folgers Coffee: 1 Tablespoon” which yields “1 Serving (6 fl. oz.)”. This

16 means that each Classic Decaf canister should contain 240 tablespoons of coffee to

17 satisfy the representation on the front label. A reasonable consumer would follow

18 the measurements supplied by the manufacturer to obtain the best results—i.e, the
19 “suggested strength.”

20         15.   However, if the back-panel instructions are followed, the canister only
21 produces approximately 181 six fluid-ounce-servings, 59 cups short of what

22 Folgers represents on its front panel.

23         16.   The alternative 10 serving recipe for coffee suggested by Folgers, in a
24 canister that holds 865 grams, produces only 227 cups of diluted coffee, not the

25 240 cups advertised on the front of the canister. Thus, even if one were to assume

26 that every pot of coffee made from the canister was based on a 10 servings pot, the

27 amount of coffee in the Classic Decaf canister still falls short of the representation

28                                            7
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 8 of 30 Page ID #:8




 1 as to the number of cups which could be made from the canister, and the cups that

 2 would be made would be weak and diluted.

 3                             MEASUREMENT BY WEIGHT
 4         17.     Moreover, even if one were to follow the instructions based on
 5 weight, the Folger Coffee Products still fall short of what is represented. The
                                                              2
 6 weight of 1 tablespoon of coffee varies by variety.            Plaintiff’s expert examined a
 7 sampling of Folgers Coffee Products, including the varieties purchased by

 8 Plaintiff, and discerned the following gram weights per tablespoon illustrated

 9 below. Based on these gram weights, the canisters simply do not contain enough

10 coffee to produce the promised number of cups at the suggested strength. (See

11 Chart, infra ¶ 22):

12

13

14

15

16

17

18
19

20

21

22

23

24

25
     2
26   https://espressocoffeeguide.com/how-much-coffee-per-cup/ (noting that 2 tablespoons is 10.6
   grams); https://www.backyardbeans.com/blog/2017/11/1/how-much-coffee-should-i-use (“1
27 level tablespoon of beans or grounds is about 5 grams. ”).

28                                                8
                                      CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 9 of 30 Page ID #:9




 1         18.   In each of the Folgers Coffee Products reviewed by the expert, the
 2 front panel prominently and conspicuously states the number of cups the canister

 3 will produce, as shown above and in the Classic Decaf and Classic Roast canisters

 4 illustrated below and taken from commercial websites to ensure the quality of the

 5 photograph but an accurate replica of one which Plaintiff purchased:

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20         19.   The back panel of each relevant Folgers product contains the
21 information with respect to a “serving” as illustrated:

22

23

24

25

26

27

28                                           9
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 10 of 30 Page ID #:10




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20          20.   Until consumer complaints were filed in recent months, Folgers
21 represented to consumers that 1 tablespoon of coffee was necessary to achieve one

22 suggested strength cup of coffee on its own website. There, one found a calculator

23 which advised customers how much coffee to use per cup. If one asked how to

24 make 10 cups, the calculator advised to use 10 tablespoons of Folgers Coffee:3

25

26
      3
     Screenshot was taken Sept. 9, 2020 from https://www.folgerscoffee.com/coffee-how-to/how-
27 to-measure-coffee. This instruction has now been deleted without explanation.

28                                              10
                                    CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 11 of 30 Page ID #:11




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14                                EXPERT ANALYSIS
15          21.   As noted, Plaintiff retained an expert to test Folgers’ claims. The
16 expert is a Ph.D. chemist with experience in the coffee industry, and with

17 appropriate training in mathematical measurements and testing.        The expert
18 personally brewed the varieties of coffee purchased by Plaintiff as well as the
19 Folgers Black Silk variety. In making his assessment, he took into account

20 standard scientific measurements applied to brewing coffee, such as extraction

21 yield (“EY”) and total dissolved solids (“TDS”), measured using an industry

22 standard refractive index measurement. He calculated the exact gram weight per

23 tablespoon for each variety. The expert also considered Folgers’ assertion that:

24 “The general rule is to add 1 level tablespoon of ground coffee per cup. For

25

26

27

28                                          11
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 12 of 30 Page ID #:12




 1 example, 6 tablespoons of ground coffee would be recommended for making 6
            4
 2 cups.”

 3           22.    The expert’s conclusion is that the Folgers canister claims are false.
 4 Having personally brewed the coffee according to Folgers’ instructions, verified

 5 the results and made scientific calculations, his findings are as follows as to the

 6 three varieties:

 7

 8

 9

10

11

12           23.    While the expert specifically utilized a 1360 gram canister of the
13 Folgers Classic Roast in his analysis, the same methodology provides the coffee

14 yield for the 865 gram canister of Folgers Classic Roast purchased by Plaintiff.

15 This canister promises 240 servings, but merely yields approximately 170 single

16 six fluid ounce cups or 212, diluted, six fluid ounce cups using the ten serving

17 recipe. Thus, the 865 gram canister of Folgers Classic Roast has a 29.2 % underfill

18 based on the single serving recipe or a 11.7% underfill for the ten serving recipe.
19           24.    Folgers has previously acknowledged that its coffee yield per canister
20 is not accurate. In a website, Truthinadverising.com, the editors doubted the ability

21 of a Folgers’ canister to produce the number of cups as advertised. Folgers

22 responded, noting that it suggests using 1-2 tablespoons of ground coffee for every

23 6 fl. ounces of water based on personal preference, which would have an impact on

24 the number of cups a canister will yield. Folgers then indicated that a 30.5 oz.

25
      4
26     https://www.folgerscoffee.com/frequently-asked-questions, Question 3: “What Is The Best
      Way to Brew Ground and Whole Bean Coffee?” (last accessed Sept. 9, 2020).
27

28                                                 12
                                       CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 13 of 30 Page ID #:13




 1 container, without reference to the type of coffee, “should yield about 215-240

 2 cups per canister.” (https://www.truthinadvertising.org/folgers/). However, this

 3 information is not widely known or disseminated, and is contrary to the

 4 representations that Folgers continues to make on the front of the canisters.

 5                              CONSUMER CONFIRMATION
 6          25.    Recent publicity concerning this issue has brought forth thousands of
 7 comments on websites from dissatisfied Folgers consumers. For example:

 8                  Karen A. stated: “Please add me [to a consumer action]…the last
 9                     container I bought said up to 270 cups and that was not true.”
10                  Erika D. reported: “I also had this problem [of underfill] but I
11                     would just shrug it off because it’s my favorite brand of coffee.”
12                  Theresa said: “Please add me. I buy Folgers all the time and I
13                     never realized why my coffee never lasted as long as it should
14                     have.”
15                  Victoria S. complained: “I drink Folgers coffee every day. I knew I
16                     was getting short changed.”
17                  Celeste F. observed: “I have purchased 5 of these containers and
18                     they go too fast for the [amount] stated in them.” 5
19                FOLGERS’ FALSE LABELING HARMS CONSUMERS
20          26.    The Folgers Label Claims are objectively deceptive and, as alleged
21 herein, violate the California Consumers Legal Remedies Act, Cal. Civ. Code §

22 1750, et seq. and California’s False Advertising Law, Cal. Bus. & Prof. Code §

23 17500, et seq., and constitute breaches of express and implied warranty, intentional

24 and negligent misrepresentation and unjust enrichment.

25
      5
26  All quotes from https://topclassactions.com/lawsuit-settlements/consumer-
   products/beverages/folgers-class-action-says-coffee-servings-are-inflated/ (last accessed Sept. 9,
27 2020).

28                                                  13
                                       CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 14 of 30 Page ID #:14




 1          27.   Throughout the Class Period defined below, Defendant has engaged
 2 in, and continues to engage in, the Folgers Label Claims. As a result, Defendant

 3 has sold thousands, if not millions, of Folgers Coffee Products to unsuspecting

 4 consumers across United States and California through its retailers and online sales

 5 channels during the Class Period.

 6          28.   Defendant’s Folgers Label Claims are false as discussed above, based
 7 on the fact that the Folgers Coffee Products are represented as having

 8 characteristics that they, in fact, do not have.

 9          29.   Defendant’s Folgers Label Claims are material since this practice was
10 likely to deceive Plaintiff and the Class Members acting reasonably in the same

11 circumstances.

12          30.   Plaintiff and the Class Members suffered injury in fact and lost money
13 as a result of Defendant’s deceptive practices in that they: (1) paid more for a

14 Coffee Product that was not as represented; (2) were deprived of the benefit of the

15 bargain because the Folgers Coffee Products they purchased were materially

16 different than what Defendant had stated on the label; and (3) were deprived of the

17 benefit of the bargain because the Folgers Coffee Products they purchased had less

18 value than what Defendant represented.
19                               CLASS ALLEGATIONS
20          31.   Plaintiff repeats and re-alleges the allegations contained in every
21 preceding paragraph as if fully set forth herein.

22          32.   Plaintiff brings this action on behalf of himself and all other similarly
23 situated Class Members pursuant to Rule 23 of the Federal Rules of Civil

24 Procedure and seeks certification of the following Classes:

25

26

27

28                                            14
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 15 of 30 Page ID #:15




 1
                   Nationwide Class
                   All persons who purchased any of the Folgers Coffee
 2
                   Products in the United States within the applicable statute
 3                 of limitations period.
 4
                   California Subclass
 5
                   All persons who purchased any of the Folgers Coffee
 6                 Products in the State of California within the applicable
 7                 statute of limitations period.

 8
            33.    Excluded from the Classes are Defendant and its parents, subsidiaries,
 9
      affiliates, officers and directors, current or former employees, and any entity in
10
      which Defendant has a controlling interest as well as all individuals who make a
11
      timely election to be excluded from this proceeding using the correct protocol for
12
      opting out and all judges assigned to hear any aspect of this litigation, as well as
13
      their immediate family members.
14
            34.    Plaintiff is a member of the Nationwide Class and the California
15
      Subclass.
16
            35.    Numerosity: The members of the Classes are so numerous that joinder
17
      of all members is impracticable. Plaintiff is informed and believes that the
18
      proposed Classes contain hundreds or even thousands of individuals who have
19
      been damaged by Defendant’s conduct as alleged herein. The precise number of
20
      Class Members is unknown to Plaintiff but may be determined with reasonable
21
      accuracy through class discovery.
22
            36.    Existence and Predominance of Common Questions of Law and Fact:
23
      This action involves common questions of law and fact, which predominate over
24
      any questions affecting individual Class Members. These common legal and
25
      factual questions include, but are not limited to, the following:
26

27

28                                              15
                                     CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 16 of 30 Page ID #:16




 1                a.    Whether Defendant made false and/or misleading statements to
 2 the Class, the Subclass and the public concerning the cup yield in the Folgers

 3 Coffee Products;

 4                b.    Whether Defendant omitted material information to the public
 5 concerning the actual cup yield of the Folgers Coffee Products;

 6                c.    Whether Defendant’s packaging for the Folgers Coffee
 7 Products is misleading and deceptive;

 8                d.    Whether the container label on the Folgers Coffee Products is
 9 misleading and deceptive;

10                e.    Whether Defendant’s conduct violates the law; and
11                f.    Whether Plaintiff and the Class Members have been damaged
12 and if so the proper calculation of damages.

13          37.   Typicality: Plaintiff’s claims are typical of the claims of the Class
14 Members because, inter alia, all Class and Subclass Members have been impacted

15 in the same way by Defendant’s false and misleading label claims about the

16 serving yield of its Folgers Coffee Products. Plaintiff is advancing the same claims

17 and legal theories on behalf of himself and all members of the Class and Subclass.

18          38.   Adequacy: Plaintiff will fairly and adequately protect the interests of
19 the Class and Subclass. Plaintiff has retained counsel experienced in complex

20 consumer class action litigation, and Plaintiff intends to prosecute this action

21 vigorously. Plaintiff has no antagonistic or adverse interest to those of the Class

22 and Subclass.

23          39.   Superiority: The nature of this action and the nature of the laws
24 available to Plaintiff and the Class and the Subclass make the use of the class

25 action format a particularly efficient and appropriate procedure to afford relief to

26 him and the Class and the Subclass for the wrongs alleged. The damages or other

27 financial detriment suffered by individual members of the Class and Subclass are

28                                           16
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 17 of 30 Page ID #:17




 1 miniscule compared to the burden and expense that would be entailed by

 2 individual litigation of their claims against Defendant. It would thus be virtually

 3 impossible for Plaintiff and the members of the Class and Subclass, on an

 4 individual basis, to obtain effective redress for the wrongs done to them. Absent

 5 the class action, members of the Class and Subclass would not likely recover, or

 6 would not likely have the chance to recover, damages and/or restitution from

 7 Defendant, which would continue to retain the proceeds of its wrongful conduct.

 8                              FIRST CLAIM FOR RELIEF
 9
                  Violation of California’s Consumers Legal Remedies Act,
                             California Civil Code § 1750, et seq.
10                               (for the California Subclass)
11          40.    Plaintiff realleges and incorporates by reference the allegations
12 previously asserted above.

13          41.    Plaintiff brings this claim individually and on behalf of the members
14 of the proposed California Subclass against Defendant pursuant to California’s

15 Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1750, et seq.

16          42.    The Folgers Coffee Products are “goods” within the meaning of Cal.
17 Civ. Code § 1761(a), Defendant is a “person” within the meaning of Cal. Civ.

18 Code § 1761(c), and the purchases of such Folgers Coffee Products by Plaintiff
19 and members of the California Subclass constitute “transactions” within the

20 meaning of Cal. Civ. Code § 1761(e).

21          43.    Cal. Civ. Code § 1770(a)(5) prohibits “[r]epresenting that goods or
22 services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

23 quantities which they do not have . . . .” By marketing the Folgers Coffee Products

24 with their current packaging, Defendant has represented and continues to represent

25 that the Folgers Coffee Products have characteristics (i.e., contain enough ground

26

27

28                                            17
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 18 of 30 Page ID #:18




 1 coffee to make up to a specified number of servings) that they do not have.

 2 Therefore, Defendant has violated section 1770(a)(5) of the CLRA.

 3          44.   Cal. Civ. Code § 1770(a)(7) prohibits “[r]epresenting that goods or
 4 services are of a particular standard, quality, or grade, or that goods are of a

 5 particular style or model, if they are of another.” By marketing the Folgers Coffee

 6 Products with their current packaging, Defendant has represented and continues to

 7 represent that the Folgers Coffee Products are of a particular standard (i.e., contain

 8 enough ground coffee to make up to a certain number of servings) which they do

 9 not possess. Therefore, Defendant has violated section 1770(a)(7) of the CLRA.

10          45.   Cal. Civ. Code §1770(a)(9) prohibits “[a]dvertising goods or services
11 with intent not to sell them as advertised.” By marketing the Folgers Coffee

12 Products as containing enough ground coffee to make a specified number of

13 servings, but not intending to sell the Folgers Coffee Products as such, Defendant

14 has violated section 1770(a)(9) of the CLRA.

15          46.   At all relevant times, Defendant has known or reasonably should have
16 known that the Folgers Coffee Products did not contain enough ground coffee to

17 make the represented number of servings, and that Plaintiff and other members of

18 the California Subclass would reasonably and justifiably rely on the packaging in
19 purchasing the Folgers Coffee Products.

20          47.   Plaintiff and members of the California Subclass have justifiably
21 relied on Defendant’s misleading representations when purchasing the Folgers

22 Coffee Products. Moreover, based on the materiality of Defendant’s misleading

23 and deceptive conduct, reliance may be presumed or inferred for Plaintiff and

24 members of the California Subclass.

25          48.   Plaintiff and members of the California Subclass have suffered and
26 continue to suffer injuries caused by Defendant because they would have paid

27 significantly less for the Folgers Coffee Products, or would not have purchased

28                                           18
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 19 of 30 Page ID #:19




 1 them at all, had they known that the Folgers Coffee Products contain substantially

 2 less ground coffee to make the promised number of servings.

 3          49.   An objectively reasonable consumer would have been deceived by the
 4 Folgers Label Claims, as they are inaccurate and misleading. Defendant’s practices

 5 are unfair and deceptive. Thus, Plaintiff requests that this Court enjoin Defendant

 6 from continuing to violate the CLRA as discussed herein and/or from violating the

 7 CLRA in the future.

 8                           SECOND CLAIM FOR RELIEF
 9
                     Violation of California’s False Advertising Law,
                  California Business & Professions Code § 17500, et seq.
10                             (for the California Subclass)
11          50.   Plaintiff realleges and incorporates by reference the allegations
12 previously asserted above.

13          51.   Plaintiff brings this claim individually and on behalf of the members
14 of the proposed California Subclass against Defendant pursuant to California’s

15 False Adverting Law (“FAL”), Cal. Bus. & Prof. Code § 17500, et seq.

16          52.   The FAL makes it “unlawful for any person to make or disseminate or
17 cause to be made or disseminated before the public . . . in any advertising device . .

18 . or in any other manner or means whatever, including over the Internet, any
19 statement, concerning . . . personal property or services professional or otherwise,

20 or performance or disposition thereof, which is untrue or misleading and which is

21 known, or which by the exercise of reasonable care should be known, to be untrue

22 or misleading.” Cal. Bus. & Prof. Code § 17500.

23          53.   Defendant has represented and continues to represent to the public,
24 including Plaintiff and members of the Subclass, through its deceptive packaging,

25 that the Folgers Coffee Products contain enough ground coffee to make

26 substantially more servings than they can actually make. Because Defendant has

27

28                                           19
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 20 of 30 Page ID #:20




 1 disseminated misleading information regarding the Folgers Coffee Products, and

 2 Defendant knows, knew, or should have known through the exercise of reasonable

 3 care that the representations were and continue to be misleading, Defendant has

 4 violated the FAL.

 5          54.     As a result of Defendant’s false advertising, Defendant has and
 6 continues to unlawfully obtain money from Plaintiff and members of the Subclass.

 7          55.     Plaintiff requests that this Court cause Defendant to restore this
 8 fraudulently obtained money to them and members of the Subclass, to disgorge the

 9 profits Defendant made on these transactions, and to enjoin Defendant from

10 violating the FAL or violating it in the same fashion in the future as discussed

11 herein. Otherwise, Plaintiff and members the California Subclass may be

12 irreparably harmed and/or denied an effective and complete remedy if such an

13 order is not granted.

14                              THIRD CLAIM FOR RELIEF
15
                  Violation of California’s Unfair Competition Law (“UCL”),
                    California Business & Professions Code § 17200, et seq.
16                                (for the California Subclass)
17          56.     Plaintiff realleges and incorporates by reference the allegations
18 previously asserted above.
19          57.     Plaintiff brings this claim individually and on behalf of the members
20 of the proposed California Subclass against Defendant.

21          58.     The UCL, Cal. Bus. & Prof Code § 17200, provides, in pertinent part,
22 that “unfair competition shall mean and include unlawful, unfair or fraudulent

23 business practices and unfair, deceptive, untrue or misleading advertising . . . .”

24          59.     Under the UCL, a business act or practice is “unlawful” if it violates
25 any established state or federal law. Defendant’s false and misleading advertising

26 of the Folgers Coffee Products was and continues to be “unlawful” because it

27

28                                             20
                                    CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 21 of 30 Page ID #:21




 1 violates the CLRA, the FAL, and other applicable laws as described herein. As a

 2 result of Defendant’s unlawful business acts and practices, Defendant has

 3 unlawfully obtained money from Plaintiff and members of the California Subclass.

 4          60.   Under the UCL, a business act or practice is “unfair” if the
 5 Defendant’s conduct is substantially injurious to consumers, offends public policy,

 6 and is immoral, unethical, oppressive, and unscrupulous, as the benefits for

 7 committing such acts or practices are outweighed by the gravity of the harm to the

 8 alleged victims. Defendant’s conduct was and continues to be of no benefit to

 9 purchasers of the Products, as it is misleading, unfair, unlawful, and is injurious to

10 consumers who rely on the packaging. Deceiving consumers as to how many cups

11 of coffee the Products can make is of no benefit to consumers. Therefore,

12 Defendant’s conduct was and continues to be “unfair.” As a result of Defendant’s

13 unfair business acts and practices, Defendant has and continues to unfairly obtain

14 money from Plaintiff and members of the California Subclass.

15          61.   Under the UCL, a business act or practice is “fraudulent” if it actually
16 deceives or is likely to deceive members of the consuming public. Defendant’s

17 conduct here was and continues to be fraudulent because it has the effect of

18 deceiving consumers into believing that the Folgers Coffee Products contain
19 enough ground coffee to make substantially more servings than they can actually

20 make. Because Defendant misled Plaintiff and members of both Classes,

21 Defendant’s conduct was “fraudulent.” As a result of Defendant’s fraudulent

22 business acts and practices, Defendant has and continues to fraudulently obtain

23 money from Plaintiff and members of the California Subclass.

24          62.   Plaintiff requests that this Court cause Defendant to restore this
25 unlawfully, unfairly, and fraudulently obtained money to them, and members of

26 both Classes, to disgorge the profits Defendant made on these transactions, and to

27 enjoin Defendant from violating the UCL or violating it in the same fashion in the

28                                            21
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 22 of 30 Page ID #:22




 1 future as discussed herein. Otherwise, Plaintiff and members of the California

 2 Subclass may be irreparably harmed and/or denied an effective and complete

 3 remedy if such an order is not granted.

 4                            FOURTH CLAIM FOR RELIEF
 5
                               Breach of Express Warranty
                                (for the California Subclass)
 6
            63.    Plaintiff realleges and incorporates by reference the allegations
 7
      previously asserted above.
 8
            64.    Plaintiff brings this claim individually and on behalf of the members
 9
      of the proposed California Subclass against Defendant.
10
            65.    California’s express warranty statute provides that “(a) Any
11
      affirmation of fact or promise made by the seller to the buyer which relates to the
12
      goods and becomes part of the basis of the bargain creates an express warranty that
13
      the goods shall conform to the affirmation or promise,” and “(b) Any description
14
      of the goods which is made part of the basis of the bargain creates an express
15
      warranty that the goods shall conform to the description.” Cal. Com. Code § 2313.
16
            66.    Defendant has expressly warranted on the Folgers Coffee Products’
17
      packaging that they can make up to a specific number of servings. For example,
18
      Defendant expressly state on the packaging of the 865 gram canister for Folgers
19
      Classic Roast that it “MAKES UP TO 240 6 FL OZ CUPS.” However, as alleged
20
      herein, this express representation is patently false, as this canister can only make
21
      up to 170 cups of coffee, or only about 70% of the amount of ground coffee
22
      promised by Defendant. All of the other varieties of the Folgers Coffee Products
23
      contain materially identical express representations that are false.
24
            67.    These representations about the Folgers Coffee Products: (a) are
25
      affirmations of fact or promises made by Defendant to consumers that the Folgers
26
      Coffee Products contain enough ground coffee to make a specific number of
27

28                                              22
                                     CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 23 of 30 Page ID #:23




 1 servings; (b) became part of the basis of the bargain to purchase the Folgers Coffee

 2 Products when Plaintiff and other consumers relied on the representation; and (c)

 3 created an express warranty that the Folgers Coffee Products would conform to the

 4 affirmations of fact or promises. In the alternative, the representations about the

 5 Folgers Coffee Products are descriptions of goods which were made as part of the

 6 basis of the bargain to purchase the Folgers Coffee Products, and which created an

 7 express warranty that the Folgers Coffee Products would conform to the product

 8 description.

 9          68.   Plaintiff and members of the California Subclass reasonably and
10 justifiably relied on the foregoing express warranties, believing that the Folgers

11 Coffee Products did in fact conform to those warranties.

12          69.   Defendant has breached the express warranties made to Plaintiff and
13 members of the California Subclass by failing to manufacture the Folgers Coffee

14 Products with enough ground coffee to make the specific number of servings that

15 were expressly warranted on the packaging.

16          70.   Plaintiff and the California Subclass paid a premium price for the
17 Folgers Coffee Products but did not obtain the full value of the Folgers Coffee

18 Products as represented. If Plaintiff and members of the Classes had known of the
19 true nature of the Folgers Coffee Products, they would not have been willing to pay

20 the premium price associated with the Folgers Coffee Products.

21          71.   As a result, Plaintiff and the California Subclass suffered injury and
22 deserve to recover all damages afforded under the law.

23 ///

24

25

26

27

28                                           23
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 24 of 30 Page ID #:24




 1                             FIFTH CLAIM FOR RELIEF
 2
                                Breach of Implied Warranty
                                 (for the California Subclass)
 3
            72.    Plaintiff realleges and incorporates by reference the allegations
 4
      previously asserted above.
 5
            73.    Plaintiff brings this claim individually and on behalf of the members
 6
      of the proposed California Subclass.
 7
            74.    California’s implied warranty of merchantability statutes provide that
 8
      “a warranty that the goods shall be merchantable is implied in a contract for their
 9
      sale if the seller is a merchant with respect to goods of that kind.” Cal. Com. Code
10
      § 2314(1).
11
            75.    California’s implied warranty of merchantability statutes also provide
12
      that “[g]oods to be merchantable must be at least such as . . . (f) conform to the
13
      promises or affirmations of fact made on the container or label if any.” Cal. Com.
14
      Code § 2314(2)(f).
15
            76.    Defendant is a merchant with respect to the sale of the Folgers Coffee
16
      Products. Therefore, a warranty of merchantability is implied in every contract for
17
      sale of the Folgers Coffee Products to California consumers.
18
            77.    By advertising the Folgers Coffee Products with their current
19
      packaging, Defendant made an implied promise that the Folgers Coffee Products
20
      contain enough ground coffee to make up to a specific number of servings. The
21
      Folgers Coffee Products have not “conformed to the promises…made on the
22
      container or label” because they do not contain enough ground coffee to make up
23
      to the specific number of servings. Plaintiff, as well as California consumers, did
24
      not receive the goods as impliedly warranted by Defendant to be merchantable.
25

26

27

28                                             24
                                    CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 25 of 30 Page ID #:25




 1          78.   Therefore, the Folgers Coffee Products are not merchantable under
 2 California law and Defendant has breached its implied warranty of merchantability

 3 with regard to the Folgers Coffee Products.

 4          79.   If Plaintiff and members of the Classes had known that the Products
 5 could not make as many servings of coffee as represented, they would not have

 6 been willing to pay the premium price associated with them. Therefore, as a direct

 7 and/or indirect result of Defendant’s breach, Plaintiff and the California Subclass

 8 suffered injury and deserve to recover all damages afforded under the law.

 9                              SIXTH CLAIM FOR RELIEF
10
                                Intentional Misrepresentation
                                  (for the Class and Subclass)
11
            80.   Plaintiff realleges and incorporates by reference the allegations
12
      previously asserted above.
13
            81.   Plaintiff brings this claim individually and on behalf of the members
14
      of the proposed Class and Subclass against Defendant.
15
            82.   Defendant marketed the Folgers Coffee Products in a manner
16
      indicating that they contain enough ground coffee to make up to a specific number
17
      of servings. However, the Folgers Coffee Products cannot make anywhere close to
18
      the   represented     number   of   servings.   Therefore,   Defendant   has   made
19
      misrepresentations about the Folgers Coffee Products.
20
            83.   Defendant’s misrepresentations regarding the Folgers Coffee Products
21
      are material to a reasonable consumer because they relate to the amount of product
22
      the consumer is receiving and paying for. A reasonable consumer would attach
23
      importance to such representations and would be induced to act thereon in making
24
      purchase decisions.
25

26

27

28                                              25
                                     CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 26 of 30 Page ID #:26




 1          84.   At all relevant times when such misrepresentations were made,
 2 Defendant knew that the representations were misleading, or has acted recklessly

 3 in making the representations, without regard to the truth.

 4          85.   Defendant intends that Plaintiff and other consumers rely on these
 5 representations, as evidenced by the intentional and conspicuous placement of the

 6 misleading representations on the Folgers Coffee Products’ packaging by

 7 Defendant.

 8          86.   Plaintiff and the other members of the Class and Subclass have
 9 reasonably and justifiably relied on Defendant’s intentional misrepresentations

10 when purchasing the Folgers Coffee Products, and had the correct facts been

11 known, would not have purchased them at the prices at which they were offered.

12          87.   Therefore, as a direct and proximate result of Defendant’s intentional
13 misrepresentations, Plaintiff and members of the Class and Subclass have suffered

14 economic losses and other general and specific damages, including but not limited

15 to the amounts paid for the Products, and any interest that would have accrued on

16 those monies, all in an amount to be proven at trial.

17                          SEVENTH CLAIM FOR RELIEF
18
                              Negligent Misrepresentation
                               (for the Class and Subclass)
19
            88.   Plaintiff realleges and incorporates by reference the allegations
20
      previously asserted above.
21
            89.   Plaintiff brings this claim individually and on behalf of the members
22
      of the proposed Class and Subclass against Defendant.
23
            90.   Defendant marketed the Folgers Coffee Products in a manner
24
      indicating that they contain enough ground coffee to make a specific number of
25
      servings. However, the Folgers Coffee Products cannot make anywhere close to
26

27

28                                           26
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 27 of 30 Page ID #:27




 1 the     represented   number   of   servings.   Therefore,   Defendant   has   made
 2 misrepresentations about the Folgers Coffee Products.

 3          91.   Defendant’s misrepresentations regarding the Folgers Coffee Products
 4 are material to a reasonable consumer because they relate to the amount of product

 5 the consumer is receiving and paying for. A reasonable consumer would attach

 6 importance to such representations and would be induced to act thereon in making

 7 purchase decisions.

 8          92.   At all relevant times when such misrepresentations were made,
 9 Defendant knew or had been negligent in not knowing that that the Folgers Coffee

10 Products did not contain enough ground coffee to make the specified number of

11 servings. Defendant had no reasonable grounds for believing its misrepresentations

12 were not false and misleading.

13          93.   Defendant intended that Plaintiff and other consumers rely on these
14 representations, as evidenced by the intentional and conspicuous placement of the

15 misleading representations on the Folgers Coffee Products’ packaging by

16 Defendant.

17          94.   Plaintiff and members of the Class and Subclass have reasonably and
18 justifiably relied on Defendant’s negligent misrepresentations when purchasing the
19 Folgers Coffee Products, and had the correct facts been known, would not have

20 purchased them at the prices at which they were offered.

21          95.   Therefore, as a direct and proximate result of Defendant’s negligent
22 misrepresentations, Plaintiff and members of the Class and Subclass have suffered

23 economic losses and other general and specific damages, including but not limited

24 to the amounts paid for the Folgers Coffee Products, and any interest that would

25 have accrued on those monies, all in an amount to be proven at trial.

26

27

28                                           27
                                  CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 28 of 30 Page ID #:28




 1                          EIGHTH CLAIM FOR RELIEF
 2
                      Quasi Contract/Unjust Enrichment/Restitution
                               (for the Class and Subclass)
 3
            96.   Plaintiff realleges and incorporates by reference the allegations
 4
      previously asserted above.
 5
            97.   Plaintiff brings this claim individually and on behalf of the members
 6
      of the proposed Class and Subclass against Defendant.
 7
            98.   As alleged herein, Defendant has intentionally and recklessly made
 8
      misleading representations to Plaintiff and members of the Class and Subclass to
 9
      induce them to purchase the Folgers Coffee Products. Plaintiff and members of the
10
      Class and Subclass have reasonably relied on the misleading representations and
11
      have not received all of the benefits promised by Defendant. Plaintiff and members
12
      of the Class and Subclass therefore have been induced by Defendant’s misleading
13
      and deceptive representations about the Folgers Coffee Products, and paid more
14
      money to Defendant for the Folgers Coffee Products than they otherwise would
15
      and/or should have paid.
16
            99.   Plaintiff and members of the Class and Subclass have conferred a
17
      benefit upon Defendant as Defendant has retained monies paid to them by Plaintiff
18
      and members of the Class and Subclass.
19
            100. The monies received were obtained under circumstances that were at
20
      the expense of Plaintiff and members of the Class and Subclass – i.e., Plaintiff and
21
      members of the Class and Subclass did not receive the full value of the benefit
22
      conferred upon Defendant.
23
            101. Therefore, it is inequitable and unjust for Defendant to retain the
24
      profit, benefit, or compensation conferred upon them without paying Plaintiffs and
25
      the members of the Class and Subclass back for the difference of the full value of
26
      the benefits compared to the value actually received.
27

28                                             28
                                    CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 29 of 30 Page ID #:29




 1          102. As a direct and proximate result of Defendant’s unjust enrichment,
 2 Plaintiff and members of the Class and Subclass are entitled to restitution,

 3 disgorgement, and/or the imposition of a constructive trust upon all profits,

 4 benefits, and other compensation obtained by Defendant from their deceptive,

 5 misleading, and unlawful conduct as alleged herein.

 6                                PRAYER FOR RELIEF
 7          WHEREFORE, Plaintiff, on behalf of himself and the Class and Subclass,
 8 demands judgment against Defendant and requests the entry of:

 9          A.    An order certifying the Class and Subclass as requested herein,
10 appointing Plaintiff as Class Representative, and appointing his counsel as Class

11 Counsel;

12          B.    An order declaring that the conduct complained of herein violates the
13 law, and awarding damages;

14          C.    An order requiring Defendant to adopt proper label statements;
15          D.    An award of attorneys’ fees and the reimbursement of litigation costs;
16 and

17          E.    Such other and further relief as this Court may deem just, equitable, or
18 proper.
19 ///

20

21

22

23

24

25

26

27

28                                            29
                                   CLASS ACTION COMPLAINT
     Case 2:20-cv-09370-JGB-SHK Document 1 Filed 10/13/20 Page 30 of 30 Page ID #:30




 1                             DEMAND FOR JURY TRIAL
 2          Plaintiff demands a trial by jury of all claims presented herein so triable.
 3

 4 DATED: October 13, 2020                           LAW OFFICES OF DAVID N. LAKE,
                                                     A PROFESSIONAL CORPORATION
 5

 6
                                                     By:
 7                                                         DAVID N. LAKE
                                                           Attorneys for Plaintiff and the
 8                                                         Classes
      OF COUNSEL:
 9
      Laurence D. Paskowitz
10 THE PASKOWITZ LAW FIRM P.C.
                 st
11 208 East 51 Street, Suite 380
      New York, NY 10022
12 Telephone: 212-685-0969

13 Email: lpaskowitz@pasklaw.com

14 Beth A. Keller

15 LAW OFFICES OF BETH A. KELLER, P.C.
      118 North Bedford Road, Suite 100
16 Mount Kisco, NY 10549

17 Telephone: 914-752-3040
      Email: bkeller@keller-lawfirm.com
18
19 Emily Komlossy
      KOMLOSSY LAW P.A.
20 4700 Sheridan Street, Suite J

21 Hollywood, FL 33021
      Telephone: (954) 842-2021
22 Facsimile: (954) 416-6223

23 Email: eck@komlossylaw.com

24

25

26

27

28                                              30
                                    CLASS ACTION COMPLAINT
